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                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS

                                                   )
JANSSEN BIOTECH, INC.,                             )
                Plaintiff,                         )
                                                   )       Case No. 1:17-cv-11008-MLW
v.                                                 )
                                                   )
CELLTRION HEALTHCARE CO., LTD.,                    )
CELLTRION, INC., and                               )
HOSPIRA, INC.                                      )
                  Defendants.                      )
                                                   )

              ASSENTED-TO MOTION FOR ADMISSION PRO HAC VICE
                   OF IRENA ROYZMAN AND DAVID KLEBAN

       Plaintiff Janssen Biotech, Inc., by and through Nutter McClennen & Fish LLP, Seaport

West, 155 Seaport Boulevard, Boston, Massachusetts, moves that Irena Royzman and David

Kleban of Patterson Belknap Webb & Tyler LLP be admitted pro hac vice in the above case.

Pursuant to Local Rule 83.5.3, this motion is accompanied by the certificates of Irena Royzman

and David Kleban.

                                                   JANSSEN BIOTECH, INC.,

                                                   By its attorneys,

                                                    /s/ Alison C. Casey
                                                   Heather B. Repicky (BBO # 663347)
                                                   hrepicky@nutter.com
                                                   Alison C. Casey (BBO # 688253)
                                                   acasey@nutter.com
                                                   NUTTER MCCLENNEN & FISH LLP
                                                   Seaport West
                                                   155 Seaport Boulevard
                                                   Boston, MA 02210
                                                   (617) 439-2000

Dated: August 25, 2017
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                             LOCAL RULE 7.1 CERTIFICATION

       Pursuant to Local Rule 7.1(A)(2), I certify that plaintiff’s counsel conferred with
defendants’ counsel on the subject of this motion, and was advised that defendants assent to this
motion.

                                                        /s/ Alison C. Casey

                                 CERTIFICATE OF SERVICE

        I certify that on August 25, 2017 this document, filed through the ECF system, will be
sent electronically to the parties or their counsel who are registered participants as identified on
the Notice of Electronic Filing and if not so registered, that paper copies will be mailed to such
parties or to their counsel.

                                                        /s/ Alison C. Casey
